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 9   LOS ANGELES COUNTY SHERIFF’S DEPARTMENT
10

11                        UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13

14
      JAIME FLORES,                          Case No.: 2:21-cv-00117-VAP-E
15

16                 Plaintiff,                DEFENDANT LOS ANGELES
      vs.                                    COUNTY SHERIFF
17                                           DEPARTMENT’S ANSWER TO
18    LOS ANGELES COUNTY                     PLAINTIFF’S COMPLAINT;
      SHERIFF’S DEPARTMENT,                  DEMAND FOR JURY TRIAL
19
      ALEX VILLANUEVA, and DOES
20    1–20, inclusive,
21                                           Action Filed:     November 16 2020
                   Defendants.
22                                           Defendant Served: December 17, 2020
                                             State Case No.:   20STCP02370
23
            Defendant Los Angeles County Sheriff’s Department (“Defendant”) answers
24
     Plaintiff Jaime Flores’ (“Plaintiff”) Complaint for Damages as follows:
25
                                    General Allegations
26
     1.     Defendant lacks information sufficient to admit or deny the truth of the
27          allegations on pages 1 to 3 of Plaintiff’s Complaint, except that Defendant
28          lacks that Plaintiff has suffered any damages, that any damages Plaintiff
                                              -1-
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           suffered was caused by Defendant, and that Plaintiff is entitled to damages
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           or a judgment in connection with his Complaint.
 3
                              Claim #1—General Negligence
 4   2.    In answering the first sentence of Claim #1, Defendant lacks information
 5         sufficient to admit or deny the truth of the allegations.
 6   3.    In answering the second sentence of Claim #1, Defendant lacks information
 7         sufficient to admit or deny the truth of the allegations asserted.
 8   4.    In answering the third sentence of Claim #1, Defendant lacks information
 9         sufficient to admit or deny the truth of the allegations asserted.
10   5.    In answering the fourth sentence of Claim #1, Defendant lacks information
11         sufficient to admit or deny the truth of the allegations asserted.
12   6.    In answering the fifth sentence of Claim #1, Defendant lacks information

13         sufficient to admit or deny the truth of the allegations asserted.
     7.    In answering the sixth sentence of Claim #1, Defendant lacks information
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           sufficient to admit or deny the truth of the allegations asserted.
15
     8.    In answering the seventh sentence of Claim #1, Defendant lacks information
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           sufficient to admit or deny the truth of the allegations asserted.
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     9.    In answering the eighth sentence of Claim #1, Defendant lacks information
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           sufficient to admit or deny the truth of the allegations asserted.
19
     10.   In answering the ninth sentence of Claim #1, Defendant lacks information
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           sufficient to admit or deny the truth of the allegations asserted.
21
     11.   In answering the tenth sentence of Claim #1, Defendant lacks information
22         sufficient to admit or deny the truth of the allegations asserted.
23   12.   In answering the eleventh sentence of Claim #1, Defendant lacks
24         information sufficient to admit or deny the truth of the allegations asserted.
25                  Claim #2—General Negligence (Negligent Hiring)
26   13.   In answering the first sentence of Claim #2, Defendant denies the truth of
27         the allegations asserted.
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     14.    In answering the second sentence of Claim #2, Defendant denies the truth of
 2
            the allegations asserted.
 3
     15.    In answering the third sentence of Claim #2, Defendant denies the truth of
 4          the allegations asserted.
 5   16.    In answering the fourth sentence of Claim #2, Defendant denies the truth of
 6          the allegations asserted.
 7   17.    In answering the fifth sentence of Claim #2, Defendant denies the truth of
 8          the allegations asserted.
 9   18.    In answering the sixth sentence of Claim #2, Defendant lacks information
10          sufficient to admit or deny the truth of the allegations asserted.
11   19.    In answering the seventh sentence of Claim #2, Defendant denies the truth of
12          the allegations asserted.

13                             Claim #3—General Negligence
                (Vicarious Liability—Police Officer’s Misuse of Authority)
14
     20.    In answering the first sentence of Claim #3, Defendant denies the truth of
15
            the allegations asserted.
16
     21.    In answering the second sentence of Claim #3, Defendant lacks information
17
            sufficient to admit or deny the truth of the allegations asserted.
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     22.    In answering the third sentence of Claim #3, Defendant lacks information
19
            sufficient to admit or deny the truth of the allegations asserted.
20
     23.    In answering the fourth sentence of Claim #3, Defendant denies the truth of
21
            the allegations asserted.
22                               Claim #4—Intentional Tort
23         (Intentional Infliction of Emotional Distress with Reckless Disregard)
24   24.    In answering the first sentence of Claim #4, Defendant lacks information
25          sufficient to admit or deny the truth of the allegations asserted.
26   25.    In answering the second sentence of Claim #4, Defendant denies the truth of
27          the allegations asserted.
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     26.   In answering the third sentence of Claim #4, Defendant denies the truth of
 2
           the allegations asserted.
 3
     27.   In answering the fourth sentence of Claim #4, Defendant lacks information
 4         sufficient to admit or deny the truth of the allegations asserted.
 5   28.   In answering the fifth sentence of Claim #5, Defendant lacks information
 6         sufficient to admit or deny the truth of the allegations assertion
 7   29.   In answering the sixth sentence of Claim #5, Defendant denies the truth of
 8         the allegations asserted.
 9               Claim #5—Intentional Tort (Battery of Police Officer)
10   30.   In answering the first sentence of Claim #5, Defendant lacks information
11         sufficient to admit or deny the truth of the allegations asserted.
12   31.   In answering the second sentence of Claim #5, Defendant lacks information

13         sufficient to admit or deny the truth of the allegations asserted.
     32.   In answering the third sentence of Claim #5, Defendant denies the truth of
14
           the allegations asserted.
15
     33.   In answering the fourth sentence of Claim #5, Defendant lacks information
16
           sufficient to admit or deny the truth of the allegations asserted.
17
     34.   In answering the fifth sentence of Claim #5, lacks information sufficient to
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           admit or deny the truth of the allegations asserted.
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     35.   In answering the sixth sentence of Claim #5, lacks information sufficient to
20
           admit or deny the truth of the allegations asserted.
21
     36.   In answering the seventh sentence of Claim #5, Defendant denies the truth of
22         the allegations asserted.
23   37.   In answering the eighth sentence of Claim #5, Defendant denies the truth of
24         the allegations asserted.
25         Claim #6—Civil Rights Unreasonable Force by Law Enforcement
26   38.   In answering the first sentence of Claim #6, Defendant lacks information
27         sufficient to admit or deny the truth of the allegations asserted.
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     39.   In answering the second sentence of Claim #6, Defendant denies the truth of
 2
           the allegations asserted.
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     40.   In answering the third sentence of Claim #6, Defendant lacks information
 4         sufficient to admit or deny the truth of the allegations asserted.
 5   41.   In answering the fourth sentence of Claim #6, Defendant lacks information
 6         sufficient to admit or deny the truth of the allegations asserted.
 7   42.   In answering the fifth sentence of Claim #6, Defendant denies the truth of
 8         the allegations asserted.
 9   43.   In answering the sixth sentence of Claim #6, Defendant denies the truth of
10         the allegations asserted.
11   44.   In answering the seventh sentence of Claim #6, Defendant denies the truth of
12         the allegations asserted.

13                    Claim #7—Civil Rights Excessive Use of Force
     45.   In answering the first sentence of Claim #7, Defendant lacks information
14
           sufficient to admit or deny the truth of the allegations asserted.
15
     46.   In answering the second sentence of Claim #7, Defendant denies the truth of
16
           the allegations asserted.
17
     47.   In answering the third sentence of Claim #7, Defendant denies the truth of
18
           the allegations asserted.
19
     48.   In answering the fourth sentence of Claim #7, Defendant lacks information
20
           sufficient to admit or deny the truth of the allegations asserted.
21
     49.   In answering the fifth sentence of Claim #7, Defendant denies the truth of
22         the allegations asserted.
23   50.   In answering the sixth sentence of Claim #7, Defendant denies the truth of
24         the allegations asserted.
25   51.   In answering the seventh sentence of Claim #7, Defendant denies the truth of
26         the allegations asserted.
27   ///
28   ///
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 1
                                    Remaining Allegations
 2
     52.   Defendant denies the truth of any remaining allegations that were not
 3
           previously addressed.
 4                                   Affirmative Defenses
 5                                 First Affirmative Defense
 6   1.    Plaintiff’s Complaint fails to state a cause action upon which relief can be
 7         granted.
 8                              Second Affirmative Defense
 9   2.    The damages alleged in the Complaint are the sole and proximate
10         responsibility and liability of persons/entities other than Defendant.
11                               Third Affirmative Defense
12   3.    Defendant and DOEs acted with good faith and due care in carrying out their

13         duties.
                                Fourth Affirmative Defense
14
     4.    Plaintiff’s Complaint is barred by the statute of limitations.
15
                                 Fifth Affirmative Defense
16
     5.    Plaintiff’s state law claims are barred by the failure to comply with the
17
           Government Tort Claims Act
18
                                 Sixth Affirmative Defense
19
     6.    Defendant is not vicariously liable because DOEs were acting outside the
20
           course and scope of their employment.
21
                                Seventh Affirmative Defense
22   7.    Plaintiff’s recovery is barred or reduced because he was comparatively
23         negligent.
24                              Eighth Affirmative Defense
25   8.    Plaintiff’s recovery is barred or reduced by the failure to mitigate his
26         damages.
27   ///
28   ///
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 1
                                 Ninth Affirmative Defense
 2
     9.    Defendant is not vicariously liable for any claim brought under 42 U.S.C. §
 3
           1983 as there is no respondeat superior liability under that statute.
 4                               Tenth Affirmative Defense
 5   10.   DOEs acted in self-defense to ensure their safety as well as the safety of
 6         others.
 7                             Eleventh Affirmative Defense
 8   11.   Defendant and DOEs are not liable for any act or omission because they
 9         were responding to an emergency situation.
10
     Dated: January 14, 2021                IVIE McNEILL WYATT
11
                                            PURCELL & DIGGS
12

13                                   By:    /s/ Jack F. Altura_____________
                                            RICKEY IVIE
14
                                            JACK F. ALTURA
15                                          Attorneys for Defendant
                                            LOS ANGELES COUNTY
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                                            SHERIFF’S DEPARTMENT
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 1                            DEMAND FOR JURY TRIAL
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           Defendant hereby demands a jury trial for all actions so triable.
 3

 4   Dated: January 14, 2021                IVIE McNEILL WYATT
                                            PURCELL & DIGGS
 5

 6                                   By:    /s/ Jack F. Altura_____________
 7                                          RICKEY IVIE
                                            JACK F. ALTURA
 8                                          Attorneys for Defendant
 9                                          LOS ANGELES COUNTY
                                            SHERIFF’S DEPARTMENT
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 1
                                  PROOF OF SERVICE
 2
           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
 4         I am employed in the County of Los Angeles, State of California; I am over
 5   the age of 18 and not a party to the within action; my business address is 444 South
     Flower Street, Suite 1800, Los Angeles, California, 90071.
 6
 7         On January 14, 2021, I served the foregoing document described as the
     DEFENDANT LOS ANGELES COUNTY SHERIFF DEPARTMENT’S
 8
     ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
 9   on the interested parties in this action by placing true copies thereof enclosed in
10   sealed envelopes as addressed on the service list:

11                          SEE ATTACHED SERVICE LIST
12
           [ ]   BY PERSONAL DELIVERY:                 I caused such document to be
13
                 delivered by hand to the addressee with delivery time prior to 5:00 pm
14               on the date specified above.
15
           [X]   BY MAIL: I caused such envelope to be deposited in the mail at Los
16               Angeles, California, with first class postage thereon fully prepaid. I
17               am readily familiar with the business practice for collection and
                 processing of correspondence for mailing. Under that practice, it is
18               deposited with the United States Postal Service on that same day, at
19               Los Angeles, California, in the Ordinary course of business.
                 I am aware that on motion of the party served, service is presumed
20
                 invalid if postage cancellation date or postage meter date is more than
21               one (1) day after the date of deposit for mailing in affidavit.
22
           [X]   Email: See attached service list.
23
24         [ ]   BY FEDERAL EXPRESS OVERNIGHT DELIVERY: I am
                 “readily familiar” with the firm’s practice of collection and processing
25
                 correspondence for Federal Express. Under that practice, it would be
26               picked up by a representative on that same day, in the ordinary course
27               of business and would be delivered the next business day.

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 1
           [X]   (Federal) I declare under penalty of perjury under the laws of the State
 2               of California that the above is true and correct..
 3
           Executed on January 14, 2021, Los Angeles, California.
 4
 5        MARTHA I. CARRILLO                                 /s/ Martha I. Carrillo
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